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                    IN THE UNITED STATES BANKRUPTCY COURT
                         FOR THE DISTRICT OF DELAWARE

In re                                               Chapter 11

BOY SCOUTS OF AMERICA AND                           Case No. 20-10343 (LSS)
DELAWARE BSA, LLC,
                                                    (Jointly Administered)
               Debtors.


                                    NOTICE OF SERVICE


        PLEASE TAKE NOTICE that on January 19, 2022, the undersigned counsel caused a

copy of the following Notices of Deposition (attached as Exhibit A) to be served by electronic

email on the Participating Parties List (as defined in and attached to Docket No 8227).

    1. The Zalkin Law Firm, P.C.’s and Pfau Cochran Vertetis Amala PLLC’s Notice of

        Deposition Pursuant to Rule 30 of the Federal Rules of Civil Procedure of Charles Bates.

    2. The Zalkin Law Firm, P.C.’s and Pfau Cochran Vertetis Amala PLLC’s Notice of

        Deposition Pursuant to Rule 30 of the Federal Rules of Civil Procedure of Michael

        Averill.

    3. The Zalkin Law Firm, P.C.’s and Pfau Cochran Vertetis Amala PLLC’s Notice of

        Deposition Pursuant to Rule 30 of the Federal Rules of Civil Procedure of Melissa

        Kibler.

    4. The Zalkin Law Firm, P.C.’s and Pfau Cochran Vertetis Amala PLLC’s Notice of

        Deposition Pursuant to Rule 30 of the Federal Rules of Civil Procedure of Brian

        Whittman.

    5. The Zalkin Law Firm, P.C.’s and Pfau Cochran Vertetis Amala PLLC’s Notice of

        Deposition Pursuant to Rule 30 of the Federal Rules of Civil Procedure of Jessica

        Horewitz.


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   6. The Zalkin Law Firm, P.C.’s and Pfau Cochran Vertetis Amala PLLC’s Notice of

      Deposition Pursuant to Rule 30 of the Federal Rules of Civil Procedure of Michael

      Archer.

   7. The Zalkin Law Firm, P.C.’s and Pfau Cochran Vertetis Amala PLLC’s Notice of

      Deposition Pursuant to Rule 30 of the Federal Rules of Civil Procedure of Nancy

      Gutzler.



DATED: January 20, 2022

                                      By: /s/ David M. Klauder
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                                            and Pfau Cochran Vertetis Amala PLLC




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